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                            IN RE: DEEPWATER HORIZON LITIGATION
                                          MDL NO. 2179


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                                            October 17, 2011
                                                 BY HAND

The Honorable Carl J. Barbier
United States District Judge
500 Poydras Street, Room C-268
New Orleans, Louisiana 70130


           Re: Subsequent Remedial Measures


Dear Judge Barbier:

        Plaintiffs respectfully provide the Court with the following submission to address the
admissibility of ten Trial Exhibits from the “List of 300” to which BP has objected on the basis
that they are allegedly “subsequent remedial measures” under Federal Rule of Evidence 407. 1

        The primary basis which underlies Rule 407 is the “social policy of encouraging people
to take, or at least not discouraging them from taking, steps in furtherance of added safety.” Fed.
R. Evid. 407, ADVISORY COMMITTEE NOTE (1972).

        Rule 407, at the same time, provides for clear, specific exclusions. These exclusions will
apply when the evidence is being offered for a purpose other than to provide negligence, such as
“proving ownership, control, or feasibility of precautionary measures, if controverted, or
impeachment.” FED. R. EVID. 407. For each one of the challenged Trial Exhibits, Rule 407
either does not apply in the first instance, or an exclusion precludes its application.

       1
         “When, after an injury or harm allegedly caused by an event, measures are taken that, if taken
previously, would have made the injury or harm less likely to occur, evidence of the subsequent measures
is not admissible to prove negligence, culpable conduct, a defect in a product, a defect in a product’s
design, or a need for a warning or instruction. This rule does not require the exclusion of evidence of
subsequent measures when offered for another purpose, such as proving ownership, control, or feasibility
of precautionary measures, if controverted, or impeachment.” FED. RULE EVID. 407, (emphasis supplied).
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Rule 407 Does Not Apply to Exhibits that Pre-Date the Macondo Blowout.
        BP challenges a June 7, 2005 email (Exhibit 3861) and an April 11, 2010 email (Exhibit
4479) on the basis of Rule 407. Because both of these exhibits pre-date the Macondo Blowout,
they are not “subsequent” measures and, as such, Rule 407 does not apply. Rozier v. Ford Motor
Co., 573 F.2d 1332, 1343-44 (5th Cir. 1978). See also Diehl v. Blaw-Knox, 360 F.3d 426, 433
(3rd Cir. 2004). Rule 407 does not apply even if the remedial measures discussed in the pre-
accident document had not yet been implemented by the time of the accident. In re Air Crash
Disaster, 86 F.3d 498, 529 (6th Cir. 1996).

Rule 407 Does Not Apply to Exhibits that Do Not Identify a Specific “Remedial Measure.”
        Rule 407 does not apply to post-accident admissions of liability that do not identify any
particular “remedial measure.” Without an identified remedial measure, the document is simply
an admission. See Robinson v. Diamond Offshore Management Co., 2006 WL 197010, *3 (E.D.
La. 10/26/06) (Barbier, J.) (allowing the admission of an investigative report that recommends
remedial measures, as they “are not themselves remedial measures and are not excluded by
Fed.R.Evid. 407”).
        BP challenges five exhibits which do not specifically discuss an actual “remedial
measure” but rather provide admissions that it failed to manage risk, that it failed to maintain an
appropriate management culture, or that the Bly Report failed to address systemic causes of the
Macondo Blowout.

       Exhibit 6254.
       In the minutes of the BP Governance Issues (Exhibit 6254) no remedial measures are
discussed. Instead, two general comments are made. The first comment reads as follows:
               Met with Paul Anderson at Sofitel Hotel 8 to 9 a.m. Paul felt that
               the company needed a fundamental change in culture and that it
               would need to move from doing things the BP way to the best way.
TRIAL EXHIBIT 6254 (emphasis supplied). This is a statement summarizing two people’s
conversation, not an internal BP document discussing the implementation of new measures.
Rule 407 does not exclude evidence of a general statement that there needs to be a change in
culture without a remedial measure. It is simply a free-standing admission.
       The second statement in Exhibit 6254 reads:
               Tony Burgmans called me to encourage me that we needed a full
               scope cultural review of the underlying causes of the Horizon
               tragedy. He pointed out that Mark Bly had indicated that he was
               taking a narrow review of what happened and not the systemic
               causes of the incident.
TRIAL EXHIBIT 6254. Again, this is a statement summary of two peoples’ conversation (not a
discussion of implementing a new protocol) and, as such, an admission that the Bly Report failed
to conduct a systemic review of the Macondo Blowout.
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        Exhibit 6250.
        Next, BP challenges the September 23, 2010 Minutes between BP and Hermes (Equity
Ownership Services) (Exhibit 6250) as a “subsequent remedial measure”. However, the minutes
do not discuss any specific remedial measure but general admissions of liability. These are
minutes of a meeting between an investor and BP in which Sir William Castell is answering a
series of questions. The important portions include the following:

   •   “BP is absolutely responsible for events in the Gulf of Mexico;”
   •   “Feel Board should now look at catastrophic risk and interrogate directly;”
   •   “Look at process engineering and have to have a set of safety standards for all
       subcontractors;”
   •   “Also how higher level of supervision works;”
   •   “Think BP has been unlucky;”
   •   “Surprised that BP could outsource catastrophic risk;”
   •   “Need to remember US is a litigious place – any unprivileged reports on culture would
       expose BP to more litigation.”

TRIAL EXHIBIT 6250. None of the above statements identify any remedial measure. These
statements are general commentary, not internal measures on how to monitor drilling operations
in deepwater. These statements bear upon admissions of liability and state of mind.

        Exhibits 6253 and 6249.
        Next BP challenges two more minutes – one from a meeting of BP plc Board of Directors
(Exhibit 6253) and the other from BP plc Safety, Ethics, and Environment Assurance Committee
(“SEEAC”) (Exhibit 6249). The Board of Directors’ Minutes center upon statements made by
Tony Hayward about the status of the Bly investigation and the possible causes of the Macondo
Blowout. There are no statements that center upon any specific remedial measures that need to
be taken because of the Macondo Blowout. .
        The minutes from the SEEAC meeting center upon its role as the presiding safety
authority over the Gulf of Mexico drilling operations. While implementation of the Bly report
recommendations are discussed, the Rule 407 exception of “control” is implicated. Here is a
high-level BP plc meeting (in which Mr. Hayward is identified as being in attendance) in which
BP plc is confirming that it, not only has the authority, but should exercise control over the safe
drilling of the GoM. The exhibit states that “[i]t would be appropriate for SEEAC, given its
assurance role on behalf of the Board, to monitor the implementation of these
recommendations.” Id. at BP-HZN-2179MDL02004527.
        Exhibit 6249 also summarizes Mr. Hayward’s statements that the recommendations in the
Bly report were “narrow” and that additional actions were being taken by BP plc such as
organizational change, “a review of the management of high consequence risk, a process safety
assessment of drilling, and a review of the oversight of contractors.” Id. These statements again
demonstrate that Rule 407’s exception of control applies. BP plc, through Mr. Hayward, is
admitting that it exercises control over GoM drilling safety.

      Exhibit 3866.
      Exhibit 3866 is a May 12, 2010 email chain and attachment concerning the manner in
which BP managed risk in the GoM at the time of the Macondo Blowout. The originating email
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was prepared by John Baxter to other BP officers to prepare a “short brief for Tony Hayward at
SEEAC 20 May (and will use it if necessary at GORC) on how we apply ‘risk management’ and
how we are using ETPs in GoM.” Id. at BP-HZN-2179MDL02206786. Mr. Baxter then
requests of the email recipients to put together some written explanation “to cover risk
assessment of drilling where it is within the BP Operation (eg. Thunderhorse) and where it is
outside a BP Operation (eg. Drilling Contractor exploring on BP Acreage).” Id.
       The attachment is called “Gulf of Mexico SPU Risk Management SEEAC Brief” and
describes GoM Mexico risk management activities in the areas of ETPs, MAR analysis, overall
hazard and risk management, and the risk matrix at the time of the Blowout. Id. at BP-HZN-
2179MDL02206788. The email was sent just over 3 weeks after the Macondo Blowout. The
Bly Report would not be issued for another number of months. At that time, BP had not created
any understanding as to the cause of the Blowout and, as such, was not in any position to issue
remedial measures to cure what it perceived to be the cause(s). As such, Rule 407 does not apply
because no “remedial measure” is discussed.

Rule 407’s Exceptions of Feasibility and/or Control Apply to the Remaining Exhibits.
      Recognized exceptions to Rule 407 include when the evidence is being used to
demonstrate that a defendant has control over the item and/or that the subsequent remedial
measure was feasible pre-accident.

        Exhibits 4244, 1987, 20007.
        In a July 15, 2011 letter from James Dupree (BP America Production Company) to the
Bureau of Ocean Energy Management, Regulation and Enforcement (“BOEMRE”), BP outlines
the numerous “specific new performance standards applicable to its deepwater offshore drilling
operations in the Gulf of Mexico.” TRIAL EXHIBIT 4244, at 1. The new guidelines include the
following: (1) requiring its contractors to use subsea BOPs equipped with no fewer than two
blind shear ram and a casing shear ram on all drilling rigs under contract; (2) requiring that a
third party vender verify the testing and maintenance of BOPs when brought to the surface; (3)
requiring that a BP competent engineer or third party cement provider conduct or witness the lab
testing of cement slurries; (4) requiring its Oil Spill Response Plan to include more specific
information about supplies of dispersants, necessary equipment, shoreline protection strategy,
and source control; (5) establishing a real-time drilling operations monitoring center in Houston;
(6) providing additional support and guidance to industry response capabilities; (6) sharing its
ROV and SIMOPS monitoring capabilities with the industry; (7) collaborating with regulatory
groups to improve BOP systems; and (8) improving its assessments of its own employees. Id. at
2-4.
        On December 15, 2010, BP implemented new interim testing guidelines in a document
titled Wellbore Positive and Negative Pressure Testing Interim Guidance. TRIAL EXHIBIT 1987.
The guidelines include the following: (1) requiring that new wellbore positive and negative
testing procedures be in writing, state the purpose of the test, define the barriers, clearly define
success/failure criteria, identify and evaluate consequences of failure, and include a contingency
plan; (2) requiring a negative differential test on all subsea wellbores prior to the BOP removal,
with a successful test result showing that there is no flow or pressure build up on any of the
monitoring lines; and (3) requiring the Wells Team Leader to approve all wellbore positive and
negative pressure tests prior to operations continuing, with unsuccessful tests requiring reporting
to the RPU VP Wells.
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        Also on December 15, 2010, BP implemented interim guidelines for subsea BOP ram
configuration, emergency system requirements, testing, verification and shear ram requirements.
TRIAL EXHIBIT 20007. These new guidelines include those identified in Exhibit 4244 as well as
the following: (1) requiring that all deepwater rigs shall contain Deadman and Autoshear
systems; (2) requiring the live testing of the Deadman, Autosheer, ROV, and EDS systems; (3)
requiring third party verification of BOP certification; and (4) requiring specific, uniform shear
ram calculation methodology. Id. at BP-HZN-2179MDL00647737-40.
        Exhibits 4244, 1987, and 20007 are admissible because they establish that each of the
new measures were feasible at the time of the Macondo Blowout. In the absence of a formal,
binding stipulation as to feasibility, the exhibits should be admissible. See Ross v. Black &
Decker, Inc., 977 F.2d 1178, 184-85 (7th Cir. 1992) (upholding the admissibility of a subsequent
remedial measure where the defendant refused to enter into a trial stipulation or include it as an
admission in the pre-trial order).
        These three exhibits also are being introduced to show control - namely, that BP
maintained absolute, final control over the operation, maintenance, and certification of the BOP,
as well as the design, implementation, and interpretation of the negative and positive pressure
testing. The control issue also applies to the new cementing protocols identified in Exhibit 4244.
BP is expected to argue at trial that other defendants exercised control over the BOP, the
negative test, and the cementing operations. These three exhibits bear upon the issue that at the
end of the day, the buck stopped with BP. See Reese v. Mercury Marine Div. of Brunswick
Corp., 793 F.2d 1416, 1428-29 (5th Cir. 1986) (finding that the subsequent remedial measure was
not excluded under Rule 407 where the defendant argued at trial that another party had final
authority over what to warn the customer about the use of the product).
        Finally, to the extent that these standards were promulgated or required by BOEMRE,
Plaintiffs question whether Rule 407 even applies. The evidentiary rule is designed to encourage
the negligent party to take remedial action; where the remedial measure is adopted or imposed by
a third party, the underlying policy concerns would not seem to apply.

       Impeachment.
       Rule 407 specifically states that subsequent remedial measures can be used for
impeachment. See In re Air Crash Disaster, 86 F.3d 498, 529-30 (6th Cir. 1996) (upholding
admissibility of subsequent remedial measure for impeachment purposes where defendant expert
argued that certain airplane equipment was state of the art, when, in fact, more advanced
equipment was available pre-accident but implemented by defendant post-accident). In the event
the Court may find that an exhibit is precluded by Rule 407, the PSC respectfully requests that
the Court nonetheless provide that the exhibits can be used for impeachment.

        Since these evidentiary issues are being determined before the entry of a pre-trial order
and before the reports and depositions of defense experts, it is impossible to get a clear sense at
this time of BP’s final theory of the case for trial.

       Even once a trial starts, testimony can make a previously inadmissible exhibit,
admissible. See Wood v. Morbark Indust., Inc., 70 F.3d 1201, 1206-07 (11th Cir. 1995)
(upholding the trial court’s reversal of an earlier decision to exclude evidence of subsequent
remedial measure when counsel for defendant put it at issue in opening statement); Muzyka v.
Remington Arms Co., Inc., 774 F.2d 1309, 1313 (5th Cir. 1985) (finding that the trial court
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committed prejudicial error by not allowing evidence of subsequent remedial measures where
defense counsel’s opening and closing argument placed it at issue). As such, the PSC should be
able to use these exhibits – if and as appropriate - for impeachment at trial.

       As always, we appreciate the Court’s time and consideration in this matter.


                                                           Respectfully submitted,

                                                           JAMES PARKERSON ROY
                                                           STEPHEN J. HERMAN
                                                           Plaintiffs’ Liaison Counsel


cc: Hon. Sally Shushan (via E-Mail)
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